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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE GOOGLE DIGITAL ADVERTISING
ANTITRUST LITIGATION
                                           No. 21-MD-3010 (PKC)


THE STATE OF TEXAS, et al.,

                         Plaintiffs,

           - against -

GOOGLE LLC                                 No. 21-cv-6841 (PKC)

                         Defendants.




                   STATE PLAINTIFFS’ NOTICE OF FILING
                      PURSUANT TO JPML RULE 10.3
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       State Plaintiffs, by and through their undersigned counsel, hereby give notice of filing

their Motion to Remand with the Judicial Panel on Multidistrict Litigation on Monday, February

27, 2023. See Exhibit A attached hereto.



Dated: February 27, 2023                       Respectfully submitted,


 /s/ Ashley Keller                                  /s/ Mark Lanier
 Ashley Keller                                      W. Mark Lanier (lead counsel)
 Admitted Pro Hac Vice                              Texas Bar No. 11934600
 ack@kellerpostman.com                              Mark.Lanier@LanierLawFirm.com
 Jason A. Zweig                                     Alex J. Brown
 jaz@kellerpostman.com                              Alex.Brown@LanierLawFirm.com
 Brooke Clason Smith                                Zeke DeRose III
 brooke.smith@kellerpostman.com                     Zeke.DeRose@LanierLawFirm.com
 150 N. Riverside Plaza, Suite 4100                 10940 W. Sam Houston Parkway N. Suite 100
 Chicago, Illinois 60606                            Houston, Texas 77064
 (312) 741-5220                                     Telephone: (713) 659-5200
 Zina Bash                                          Facsimile: (713) 659-2204
 zina.bash@kellerpostman.com                        THE LANIER LAW FIRM, P.C.
 111 Congress Avenue, Suite 500
 Austin, TX 78701
 (501) 690-0990
 KELLER POSTMAN LLC

 Attorneys for Plaintiff States of Texas, Idaho, Indiana, Louisiana (The Lanier Law Firm only),
                 Mississippi, North Dakota, South Carolina, and South Dakota




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FOR PLAINTIFF STATE OF TEXAS:

KEN PAXTON
Attorney General


/s/ Shawn E. Cowles
Brent Webster, First Assistant Attorney              James R. Lloyd, Chief, Antitrust
General of Texas                                     Division
Brent.Webster@oag.texas.gov                          James.Lloyd@oag.texas.gov
Grant Dorfman, Deputy First Assistant                Trevor Young, Deputy Chief,
Attorney General                                     Antitrust Division
Grant.Dorfman@oag.texas.gov                          Trevor.Young@oag.texas.gov
Aaron Reitz, Deputy Attorney General for
Legal Strategy Aaron.Reitz@oag.texas.gov
Shawn E. Cowles, Deputy Attorney
General for Civil Litigation
Shawn.Cowles@oag.texas.gov




 OFFICE OF THE ATTORNEY GENERAL OF
 TEXAS
 P.O. Box 12548
 Austin, TX 78711-2548
 (512) 936-1674

 Attorneys for Plaintiff State of Texas




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FOR PLAINTIFF STATE OF ALASKA:

TREG R. TAYLOR
Attorney General


By :     /s/ Jeff Pickett
        Jeff Pickett
        Senior Assistant Attorney General, Special Litigation Section
        jeff.pickett@alaska.gov

        Attorney for Plaintiff State of Alaska




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FOR PLAINTIFF STATE OF ARKANSAS:

TIM GRIFFIN
ATTORNEY GENERAL



By: __________________________
AMANDA J. WENTZ
Ark. Bar No. 2021066
Assistant Attorney General
Office of the Arkansas Attorney General
323 Center Street, Suite 200
Little Rock, AR 72201
(501) 682-1178
Amanda.Wentz@ArkansasAG.gov

Attorney for Plaintiff State of Arkansas




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FOR PLAINTIFF STATE OF FLORIDA:

ASHLEY MOODY, Attorney General

/s/ R. Scott Palmer
R. SCOTT PALMER, Interim Co-Director, Antitrust Division
FL Bar No. 220353
JOHN GUARD, Chief Deputy Attorney General
LEE ISTRAIL, Assistant Attorney General
ANDREW BUTLER, Assistant Attorney General
CHRISTOPHER KNIGHT, Assistant Attorney General

Office of the Attorney General, State of Florida
PL-01 The Capitol
Tallahassee, Florida 32399
Phone: 850-414-3300
Email: scott.palmer@myfloridalegal.com

Attorneys for Plaintiff State of Florida




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FOR PLAINTIFF STATE OF IDAHO:

RAÚL R. LABRADOR
ATTORNEY GENERAL

/s/ John K. Olson
John K. Olson
Acting Division Chief
Consumer Protection Division
Office of the Attorney General
954 W. Jefferson Street
2nd Floor
P.O. Box 83720
Boise, Idaho 83720-0010
Telephone: (208) 334-2424
john.olson@ag.idaho.gov

Attorneys for Plaintiff State of Idaho




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FOR PLAINTIFF STATE OF INDIANA:

THEODORE E. ROKITA
Attorney General

The Office of the Indiana Attorney General

By:
Scott Barnhart
Chief Counsel and Director of Consumer Protection
Indiana Atty. No. 25474-82
Indiana Government Center South – 5th Fl. 302
W. Washington Street
Indianapolis, IN 46204-2770
Phone: (317) 232-6309
Fax: (317) 232-7979
Email: scott.barnhart@atg.in.gov




Matthew Michaloski
Deputy Attorney General
Indiana Atty. No. 35313-49
Indiana Government Center South – 5th Fl. 302
W. Washington Street
Indianapolis, IN 46204-2770
Phone: (317) 234-1479
Fax: (317) 232-7979
Email: matthew.michaloski@atg.in.gov

Attorneys for Plaintiff State of Indiana




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FOR PLAINTIFF COMMONWEALTH OF KENTUCKY:

DANIEL CAMERON
Attorney General

J. Christian Lewis
Executive Director of Consumer Protection




Christian.Lewis@ky.gov
Philip R. Heleringer, Deputy Director of Consumer Protection
Philip.Heleringer@ky.gov
Jonathan E. Farmer, Assistant Attorney General
Jonathan.Farmer@ky.gov
Office of the Attorney General
Commonwealth of Kentucky
1024 Capital Center Drive, Suite 200
Frankfort, Kentucky 40601
Tel: 502-696-5300

Attorneys for Commonwealth of Kentucky




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FOR PLAINTIFF STATE OF LOUISIANA:

HON. JEFF LANDRY
ATTORNEY GENERAL, STATE OF LOUISIANA
Michael Dupree
Christopher J. Alderman
1885 N. 3rd Street
Baton Rouge, LA 70802

s/ James R. Dugan, II___________
James R. Dugan, II (pro hac vice)
TerriAnne Benedetto (pro hac vice)
The Dugan Law Firm
365 Canal Street
One Canal Place, Suite 1000
New Orleans, LA 70130
PH: (504) 648-0180
FX: (504) 649-0181
EM: jdugan@dugan-lawfirm.com
      tbenedetto@dugan-lawfirm.com

James Williams
CHEHARDY SHERMAN WILLIAM, LLP
Galleria Boulevard, Suite 1100
Metairie, LA 70001
PH: (504) 833-5600
FX: (504) 833-8080
EM: jmw@chehardy.com

Attorneys for the State of Louisiana




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FOR PLAINTIFF STATE OF MISSISSIPPI:

LYNN FITCH, ATTORNEY GENERAL
STATE OF MISSISSIPPI

By:    /s/ Hart Martin
       Hart Martin
       Consumer Protection Division
       Mississippi Attorney General’s Office
       Post Office Box 220
       Jackson, Mississippi 39205
       Telephone: 601-359-4223
       Fax: 601-359-4231
       Hart.martin@ago.ms.gov

       Attorney for Plaintiff State of Mississippi




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FOR PLAINTIFF STATE OF MISSOURI:

ANDREW BAILEY
Attorney General




Amy.Haywood@ago.mo.gov
Missouri Attorney General’s
Office P.O. Box 899
Jefferson City, Missouri
65102 Tel: 816-889-3090

Attorneys for Plaintiff State of Missouri




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FOR PLAINTIFF STATE OF MONTANA:

     AUSTIN KNUDSEN
     Montana Attorney General


     /s/ Rebekah French
     Montana Attorney General’s Office
     P.O. Box 200151
     Helena, MT 59620-0151
     Phone: (406) 444-4500
     Fax: (406) 442-1894
     Rebekah.French@mt.gov

     /s/ Charles J. Cooper
     Charles J. Cooper
     ccooper@cooperkirk.com
     David H. Thompson
     dthompson@cooperkirk.com
     Brian W. Barnes
     bbarnes@cooperkirk.com
     Harold S. Reeves
     hreeves@cooperkirk.com
     COOPER & KIRK PLLC
     1523 New Hampshire Avenue, NW
     Washington DC 20036
     Phone: (202) 220-9620
     Fax: (202) 220-9601

     Attorneys for Plaintiff State of Montana




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FOR PLAINTIFF STATE OF NEVADA:

AARON D. FORD
Attorney General
ERNEST D. FIGUEROA
Consumer Advocate


/s/ Michelle C. Newman
Michelle C. Newman, Senior Deputy
Attorney General
mnewman@ag.nv.gov
Lucas J. Tucker (NV Bar No. 10252)
Senior Deputy Attorney General
LTucker@ag.nv.gov
Office of the Nevada Attorney General
100 N. Carson St.
Carson City, Nevada 89701
Tel: (775) 684-1100

Attorneys for Plaintiff State of Nevada




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FOR PLAINTIFF STATE OF NORTH DAKOTA:


       STATE OF NORTH DAKOTA
       Drew H. Wrigley
       Attorney General


By:    /s/ Elin S. Alm
       Parrell D. Grossman, ND ID 04684
       Elin S. Alm, ND ID 05924
       Assistant Attorneys General
       Consumer Protection & Antitrust Division
       Office of Attorney General of North Dakota
       1720 Burlington Drive, Suite C
       Bismarck, ND 58503-7736
       (701) 328-5570
       (701) 328-5568 (fax)
       pgrossman@nd.gov
       ealm@nd.gov

       Attorneys for Plaintiff State of North Dakota




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FOR PLAINTIFF COMMONWEALTH OF PUERTO RICO:

/s/ Domingo Emanuelli-Hernández
Domingo Emanuelli-
Hernández Attorney General
Thaizza Rodríguez Pagán
Assistant Attorney
General PR Bar No.
17177
P.O. Box 9020192
San Juan, Puerto Rico 00902-0192
Tel: (787) 721-2900, ext. 1201, 1204
trodriguez@justicia.pr.gov

Kyle G. Bates
HAUSFELD LLP
600 Montgomery Street, Suite 3200
San Francisco, CA 94111

Attorneys for Plaintiff Commonwealth of Puerto Rico




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FOR PLAINTIFF STATE OF SOUTH CAROLINA:

ALAN WILSON
Attorney General


/s/ Mary Frances Jowers
Mary Frances Jowers
Assistant Deputy Attorney General
Rebecca M. Hartner (S.C. Bar No. 101302)
Assistant Attorney General
W. Jeffrey Young
Chief Deputy Attorney General
C. Havird Jones, Jr.
Senior Assistant Deputy Attorney General
South Carolina Attorney General’s Office
P.O. Box 11549
Columbia, South Carolina 29211-1549
Phone: 803-734-3996
Email: mfjowers@scag.gov

Charlie Condon
Charlie Condon Law Firm, LLC
880 Johnnie Dodds Blvd, Suite 1
Mount Pleasant, SC 29464
Phone: 843-884-8146
Email: charlie@charliecondon.com

James R. Dugan, II (pro hac vice)
The Dugan Law Firm
365 Canal Street
One Canal Place, Suite 1000
New Orleans, LA 70130
Phone: (504) 648-0180
Email: jdugan@dugan-lawfirm.com


Attorneys for Plaintiff State of South Carolina




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FOR PLAINTIFF STATE OF SOUTH DAKOTA:

MARTY JACKLEY
Attorney General


/s/ Jonathan Van Patten
Jonathan Van Patten
Assistant Attorney General
Office of the Attorney General
1302 E. Highway 14, Suite 1
Pierre, SD 57501
Tel: 605-773-3215
jonathan.vanpatten@state.sd.us

Attorney for Plaintiff State of South Dakota




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FOR PLAINTIFF STATE OF UTAH:

Sean D. Reyes
Utah Attorney General

/s/ Marie W.L. Martin
Marie W.L. Martin
Assistant Attorney General
160 East 300 South, 5th Floor
P.O. Box 140874
Salt Lake City, UT 84114-0872
mwmartin@agutah.gov
Telephone: (801) 538-9600

Attorneys for Plaintiff State of Utah and as counsel for the Utah Division of Consumer Protection




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